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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

NETLIST, INC.,                        )
                                      )
              Plaintiff,              )
                                      )   Case No. 2:22-cv-293-JRG
      vs.                             )
                                      )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD;         )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,          )
INC.; SAMSUNG SEMICONDUCTOR           )
INC.,                                 )
                                      )
              Defendants.             )

NETLIST, INC.,                        )
                                      )
              Plaintiff,              )
                                      )
                                          Case No. 2:22-cv-294-JRG
      vs.                             )
                                      )
                                          JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;              )
MICRON SEMICONDUCTOR                  )
PRODUCTS, INC.; MICRON                )
TECHNOLOGY TEXAS LLC,                 )
                                      )
              Defendants.             )


             NETLIST, INC.’S OPPOSITION TO MICRON’S MOTION FOR
            SUMMARY JUDGMENT OF NO PRE-SUIT DAMAGES (DKT. 367)
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       Micron concedes that Netlist can recover pre-suit damages at least as of April 28, 2021 for the

’912 Patent and April 28, 2022 for the ’417 Patent, and states it “is not moving” as to damages after

those dates. Dkt. 367 at n. 1. Micron’s motion that there are no damages available before those dates

should be denied. Netlist repeatedly provided actual notice of the ’912 Patent to Micron before April

28, 2021, and (as this Court recently found in Micron I for other patents based on the same letter)

provided actual notice of the ’417 Patent to Micron as of at least April 28, 2021.

I.     BACKGROUND AND ADDITIONAL FACTS

       A.      Netlist Notifies Micron in 2011 of Infringement of the ’912 Patent

       In February 2011,                                                                       . Ex. 1;

Ex. 2 (announcing “Micron’s acquisition of 100 percent of Elpida’s equity”).




              Ex. 1at 24, 62-63 (                                      ). The presentation



                                                                                             . Id. at 12,

63 (excerpts below, highlights added):




Micron’s DDR4 LRDIMM products are accused in this case. Ex. 3 (Mangione-Smith Open. Rpt.) Ex.




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A at ¶ 43 (discussing                                                     ). Netlist

                                                                      . Ex. 1at 65.

       B.      Netlist Meets with Micron in 2015 and Notifies It of the ’912 Patent and the ’417
               Patent Family

       On February 25, 2015, representatives of Netlist and Micron held a technical meeting to

discuss Netlist’s technology. The meeting occurred over the “Go To Meeting” video conference

platform. Ex. 4 (Sasaki 12-20-2023 Decl.) at ¶¶ 2-5 (attaching Feb. 25, 2015 email containing

videoconference link for “Micron Meeting”). At the meeting, Netlist

                                                            . Ex. 5 at 15. The presentation also




Micron’s LRDIMM products are accused in this case, as discussed above. The slide from this

presentation                                   (red annotations added):




The February 2015 presentation further proposed that

                                                               Ex. 5 at 34 (image below):




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       Netlist and Micron



                                                                Ex. 6 (email summary

of “Micron meeting – 4/21”).




Ex. 7 (NL-MIC-203_00042085) at 22 (red annotations added).




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        Netlist further




                                          Id.

at 23 (at right). As discussed above, DDR4

LRDIMM are the exact products Netlist

accuses in this case. Netlist also



            Id. at 27.                                                                   . Id. at 59-60.

        Micron argues there is no evidence                                                         . This

is incorrect. There is contemporaneous documentary evidence corroborating                        , as well

as sworn testimony confirming                    . For example, there is




                                                                     . Ex. 33. Ms. Gail Sasaki, Netlist’s

CFO, submitted a sworn declaration confirming that the February 2015 presentation “was given to

Micron on February 25, 2015.” Ex. 4 (Sasaki Decl.) at ¶ 3. She attached to that declaration a

contemporaneous email dated February 25, 2015 with the subject “Micron Meeting – GoToMeeting,”

that contains the original link used for the videoconference. Id. at 4. She also confirmed that she

drafted and sent an email in February 2015 attaching the meeting slides that were used. Id. at ¶ 4; Ex.

8 (email with subject “Micron Final Presentations from Last Mtg (call) on 2/25 is attached”). Ms.

Sasaki confirmed all of these documents are Netlist business records. Ex. 4 at ¶¶ 3-5.

        Likewise, as to the April 2015 meeting, Mr. Noel Whitley, Netlist’s former in-house counsel,

submitted a sworn declaration confirming that “On April 21, 2015, three Micron employees (Dean



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Klein, Bryan Martin, and Darren Young) visited Netlist’s offices in Irvine, California to meet with

Netlist. I attended that meeting on behalf of Netlist, as did Christopher Lopes and Rex Sherry. At that

meeting, Netlist presented to Micron’s employees a presentation titled “Micron/Netlist Partnership

Opportunity.” Ex. 9 (Whitley Decl.) at ¶ 2. Mr. Whitley further confirmed that “At the meeting with

Micron on April 21, 2015, Netlist presented every slide in the April 2015 Presentation to Micron’s

employees,” id. at ¶ 4, and confirmed that the version of the April 2015 presentation Netlist produced

in this case is accurate and a Netlist business record. Id. at ¶ 3. There is also



                                         . Ex. 6 (



                                                                                        ). Mr. Whitley

confirmed this email summary is accurate. Ex. 9 (Whitley Decl.) at ¶ 5.

        There is also witness testimony confirming the presentations were made to Micron. Mr. Hong,

Netlist’s CEO and 30(b)(6) representative regarding notice, testified the meetings occurred and the

presentations were given to Micron. Ex. 10 (2023-09-20 Hong Tr.) at 169:23-170:1



                                                           174:20-25



                                                                                     181:6-8




                          ” Id. at 167:1-6, 170:18-25, 240:18-25.



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        Noel Whitley, a participant at the meetings, similarly testified that they occurred and the

presentations were made. Ex. 11 (Whitley 02-03-17 Depo.) at 160:18-161:5




        Mr. Milton, Netlist’s corporate representative regarding publication of the invention and

disclosures of the invention outside Netlist, likewise testified the presentations occurred. Ex. 12 (2023-

09-01 Milton Tr.) at 38:23-39:9




                        Ex. 13 (2023-11-20 Tr.) at 206:18-207:3



                         ..




                 . Ex. 14 (MICNL203-00082052)

        C.      Netlist’s 2021 Notice Letter to Micron

        On April 28, 2021, Netlist sent a letter to Micron’s CEO



                                              ” Ex. 15 at 1.

                                       Ex. 3 (Mangione-Smith Opening Rpt.) Ex. A at ¶ 43 (



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        Exhibit A to the letter



                                                               Ex. 15 at 2. All of these patents are listed

on the face of the ’417 Patent as part of the same continuation chain, and the ’417 Patent claims

priority to them. Ex. 17 (’417 Patent) at Related Application Data. Micron admitted in its Interrogatory

responses that it received Netlist’s April 2021 letter. Ex. 16 at 38-40.

        Netlist specifically proposed in the April 2021 letter that

             . Ex. 15 at 3




        D.      Netlist’s 2022 Letter to Micron

        On April 1, 2022, Netlist sent Micron another letter proposing                              Ex. 18

at 1.

                                                               . Ex. 19.

        E.      Netlist’s Disclosures of the ’912 Patent and ’417 Family to Micron at JEDEC

        Netlist also disclosed the ’912 Patent and ’417 Patent family to Micron in JEDEC meetings.



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At a September 2010 meeting of JC-40, Netlist’s JEDEC representative Mario Martinez disclosed that

Netlist had “IP related to” LRDIMM. Ex. 20. Mr. Martinez then specifically identified the ’912 Patent

and Pat. No. 7,636,274 and application No. 12/629,827, which are parents to the ’417 Patent:




Id. at -74554. Representatives from Micron were present at the meeting when Netlist made this

disclosure. Id. at 1-2 (“Members Present” listing “George Pax” from Micron, and “Others Present”

listing three additional Micron attendees). The JEDEC Patent Policy states that “Disclosure of a patent

is deemed to include all patents claiming priority of a single filing.” Ex. 32 (JM21V) at § 8.2.1.

        Netlist also submitted numerous written disclosures of the patents to JEDEC, all of which

Micron received as a JEDEC member. This included disclosures of the ’912 Patent on at least April

1, 2010, November 22, 2010; December 6, 2010; and September 7, 2011. Ex. 21, Ex. 22; Ex. 23 at -

22052; Ex. 24 at -21966. These disclosures specifically identified the ’912 Patent as relevant to

“LRDIMM,” the accused product in this case. E.g. Ex. 22.

        Netlist also made

                                                                                                     Ex. 25

(                                                  ); Ex. 22 at -21938 and Ex. 23 at -22058 (

                      ); Ex. 23 at -22056 and Ex. 24 at -21970 and Ex. 26 at -22000 (

                   ); Ex. 26 at -22002, -21998 (                                             ).

II.     RESPONSE TO MICRON’S STATEMENT OF UNDISPUTED FACTS

        1-5. Disputed. Netlist incorporates herein by reference its discussion of the 2015 presentations

and corroborating evidence in Section I, above.

        6. Disputed. As discussed above in Section I and incorporated herein, Netlist’s disclosures of



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the ’912 Patent to JEDEC specifically mentioned LRDIMM products, which are accused in this case.

Micron representatives were present for disclosure of the ’912 Patent and received the written

disclosures as JEDEC members, as discussed above.

          7-8. Not disputed that Netlist and SK Hynix entered into a “Strategic Product Supply and

License Agreement” on April 5, 2021 or that the agreement contained a license as stated in the

agreement, in addition to (among other terms)

           However, disputed that Micron complied with its obligations under Arctic Cat.

          9. Not disputed that Netlist sent the April 28, 2021 letter to Micron and that it

             . However, disputed that the ’417 Patent was not identified. As discussed above in Section

I and incorporated herein, Netlist’s April 2021 letter




                                 . Ex. 15 at 2.

          10. Undisputed.

          11. Undisputed.

          12-13. Undisputed that the Court issued a Report and Recommendation in the -203 case

regarding Micron’s motion for summary judgment of no pre-suit damages, however, disputed as to

Micron’s characterization of the R&R, as discussed below.

          14. Undisputed as to the date of the complaint and that Micron’s DDR4 LRDIMM and

RDIMM products are accused in this case.

          15. Undisputed Micron sent a letter dated May 25, 2013, however, disputed this letter complied

with Micron’s obligations under Arctic Cat.

          16. Disputed. Netlist responded to each of Micron’s Interrogatories regarding notice. Ex. 27,

Ex. 28.



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III.    LEGAL STANDARD

        “Compliance with the marking statute is an issue of fact.” Arthrex, Inc. v. Smith & Nephew, Inc.,

2016 WL 11750176, at *3 (E.D. Tex. Nov. 29, 2016). Communications regarding actual notice should

be viewed within the context of the parties’ negotiations. Gart v. Logitech, Inc., 254 F.3d 1334, 1346-47

(Fed. Cir. 2001). “[A]lthough the Federal Circuit wrote in Amsted Industries v. Buckeye Steel Casting Co.,

24 F.3d 178, 187 (Fed.Cir.1994), that ‘[a]ctual notice requires the affirmative communication of a

specific charge of infringement by a specific accused product or device,’ the court, in SRI Int’l., held

that a direct charge of infringement was not required.” Mass. Inst. Of Tech. v. Abacus Software, Inc., 2004

WL 5268125, at *3 (E.D. Tex. Sept. 29, 2004) (citing SRI Int’l, Inc. v. Advanced Tech. Lab’ys., Inc., 127

F.3d 1462, at 1469–70 (Fed. Cir. 1997)). The provision of notice regarding a parent patent can suffice

to provide notice of children of that parent. K-TEC, Inc. v. Vita-Mix Corp., 696 F.3d 1364, 1378-79

(Fed. Cir. 2012) (affirming denial of summary judgment where patent owner “proffered evidence that

(1) it provided notice that the MP container infringed various claims of the ’117 patent’s parent patent

in March 2005.”). Similarly, notice may occur before a product launches. K-TEC, 696 F.3d at 1378

(earlier notice as to “MP container” product effective as to later-released “XP container” product).

IV.     ARGUMENT

        A.      Netlist Provided Actual Notice of the ’912 Patent to Micron

        Micron does not dispute that Netlist may recover damages for the ’912 Patent from at least

April 28, 2021 (the date of Netlist’s 2021 letter). Dkt. 367 at 1. Micron’s request that summary

judgment be granted precluding pre-suit damages before that date should be denied, because there is

at minimum a dispute of fact regarding whether Netlist provided actual notice before April 2021.

                1.      Netlist’s 2010 Presentation, 2011 JEDEC Disclosures, and 2015
                        Presentations All Provided Actual Notice to Micron

        Netlist repeatedly provided notice to Micron of the ’912 Patent, expressly stated that it covers

the LRDIMM products accused in this case, and proposed that Micron take a license. This is all that


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is required for actual notice under Federal Circuit law. SRI, 127 F.3d at 1470 (“the actual notice

requirement of § 287(a) is satisfied when the recipient is informed of the identity of the patent and the

activity that is believed to be an infringement, accompanied by a proposal to abate the infringement,

whether by license or otherwise.”).

        First, in September 2010, Netlist disclosed at a meeting of JEDEC that it had IP “related to”

LRDIMM, and specifically identified the ’912 Patent. Ex. 20 at 8. At least four individuals from Micron

were present at the meeting and received the disclosure. Id. at 1-2 (“Members Present” listing “George

Pax” from Micron, and “Others Present” listing three additional Micron attendees).

        Second, in February 2011, Netlist made a presentation to Micron’s predecessor that expressly



                                                                  Ex. 1 at 12, 63. Netlist proposed that

                              Id. at 65. This notice is imputed to Micron by virtue of its acquisition of

Elpida. See Tempur World v. Therapedic Sleep Prods., 2008 WL 11472214 (E.D. Ky. Jan. 10, 2008) (finding

notice could be imputed to related party and this was a fact issue for trial).

        Third, in February 2015, representatives of Netlist and Micron held a virtual meeting to discuss

Netlist’s technology over the “Go To Meeting” video conference platform. Ex. 4 (Sasaki 12-20-2023

Decl.) at ¶¶ 2-5. During this meeting, Netlist specifically identified                       to Micron,

described it as a                      and stated that                                      Ex. 5 at 15.

Netlist proposed that

                      Id. at 34.

        Fourth, in April 2015, representatives of Netlist and Micron held a further meeting at Netlist’s

offices in Irvine. At the April meeting, Netlist again specifically identified the            to Micron

                               . Ex. 7 at 22 (red annotations added).




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                                                     Id. at 59-60.

          Each of these communications alone, and certainly all of them considered together as part of

an overall series of communications between the parties, satisfy the requirements for actual notice.

They expressly identified the ’912 Patent, stated it covered LRDIMM products (the exact accused

products in this case), and proposed                         .

                     2.   Micron’s Arguments Do Not Warrant Summary Judgment

          Micron’s arguments against actual notice merely confirm there is at minimum a factual dispute

for the jury to resolve, not one to adjudicate at summary judgment.

          Micron first disputes whether the 2015 presentations occurred, claiming there is “no evidence”

the presentations were made. Mot. at 12-13. Micron’s assertion has no connection to the record. As

discussed above in Section I, there is extensive corroborating evidence (including contemporaneous

emails, deposition testimony, and sworn declarations) confirming that both presentations occurred.

See, e.g., Ex. 8 (

                            ); Ex. 6 (e

stating

                          ; Ex. 4 (Sasaki Decl.) at ¶ 3 (February 2015 presentation “was given to Micron

on February 25, 2015” and attaching email with original video conference link); Ex. 9 (Whitley Decl.)

at ¶¶ 2-4 (“On April 21, 2015, three Micron employees . . . visited Netlist’s offices in Irvine, California

to meet with Netlist. I attended that meeting on behalf of Netlist . . . Netlist presented every slide in

                                                           Ex. 10 (2023-09-20 Hong Tr.) at 169:23-170:1




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                    see also Ex. 11 (Whitley 02-03-17 Tr.) at 160:18-161:5; Ex. 12 (2023-09-01 Milton)

at 38:23-39:9.

         This Court recently addressed the same 2015 presentations at the Pretrial Conference in

Micron I, denying Micron’s motion in limine to exclude them and rejecting the argument there was

insufficient evidence they were made. Ex. 29 (Micron I 12-20-2023 PTC Tr.) at 88:20-89:1




                                                                                    ). At a subsequent

hearing on exhibits, the Court pre-admitted the April 2015 presentation, and held the 2015

presentation can be admitted based on foundation at trial. Ex. 30 (Micron I 1-12-2024 PTC Tr.) at

52:1-4



54:6-8

                                                             56:11-15. Micron is free to argue to the

jury that it disputes the presentations occurred, but that is not an issue for summary judgment.

         Micron also argues that Netlist’s pre-2021 communications regarding the ’912 Patent contain

“no allegation of infringement.” Mot. at 11-12. This assertion is wrong. First, Netlist’s 2011

presentation to Elpida/Micron, which Micron fails to address in its motion, expressly charged that

LRDIMM products (the accused products in this case) “infringes on Netlist IP,” and defined

“Netlist IP” to include the ’912 Patent. Ex. 1 at 12, 63 (emphasis added). Second, while Micron argues

the 2010 JEDEC notice and 2015 presentations did not use the word infringement, all of these

disclosures clearly identified to Micron the ’912 Patent and that it covered LRDIMM products (which



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are accused products in this case). Ex. 5 at 15 (identifying ’912 Patent as relevant to “LRDIMM”); Ex.

7 at 22 (listing ‘’912 Patent under “LRDIMM”).

        There are clear indications in both presentations that Netlist

                                                                                           . For example,

the



                                         Ex. 5 (NL-MIC-

203_00042043) at 34 (excerpts at right). Similarly, the

April 2015 presentation                                                                     . Ex. 7 at 22.

These                       would not make sense if the presentation had no relation to Micron’s

products,

        Both the Federal Circuit and this Court hold that notices akin to the 2015 presentations

sufficiently charge infringement, even if they do not expressly use that word, where at least a

reasonable inference can be drawn that the patentee believed the patents covered defendant’s

products. For example, in Gart v. Logitech, Inc., 254 F.3d 1334 (Fed. Cir. 2001) the Federal Circuit

reversed the District Court’s grant of summary judgment that actual notice was not provided, holding

that notwithstanding the fact patentee’s letter did not expressly state there was infringement, it created

a genuine dispute of fact because “the clear inference from the 1995 letter’s reference to specific claims

of the patent, a specific product, and the suggestion that a license under the patent may be needed is

that Gart believed the TRACKMAN VISTA infringed claims 7 and 8 of the ’165 patent.” Id. at *1346.

Similarly, in Image Processing Technologies, LLC v. Samsung Elecs. Co., 2020 WL 6832827 (E.D. Tex. Jun.

19, 2020), patentee sent a notice letter that identified its patents “by number and title,” pointed to

features in Samsung’s digital camera products, and stated “we believe that Samsung might be interested

in licensing the Image Processing portfolio.” Id. at *2. Defendant argued this letter was not sufficient



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notice because it “does not even use the word ‘infringe’ or ‘infringement.’” Id. at *4. This Court

rejected Defendant’s argument, finding the letter “provides sufficient specificity to raise a genuine

issue of material fact as to IPT’s notice to Samsung that it may be an infringer.” Id. at *5. So too here,

Netlist’s February and April 2015 presentations were sufficiently specific to put Micron on notice it

may be infringing—they notified Micron of the patents, identified the products and features the patent

covered                                                                                      . There is at

least a reasonable inference that can be drawn from these communications that Netlist believed

Micron’s products infringed, and that inference must be drawn in Netlist’s favor at the summary

judgment stage. Lear Corp. v. NHK Seating of Am. Inc., 2022 WL 870834, at *6 (E.D. Mich. Mar. 23,

2022) (denying summary judgment and finding that, at summary judgment stage, notice letter must be

interpreted “in the light most favorable” to patentee).

        Micron also argues that the Court’s R&R in Micron I holds the 2015 presentations cannot

provide actual notice. Mot. at 12. Netlist respectfully submits that there are material differences

between this case and Micron I that compel a different conclusion. Unlike in Micron I, this case

involves additional communications such as Netlist’s 2011 presentation expressly

                                   , discussed above. Further, whereas the 2015 presentations did not

directly list the patents-in-suit in Micron I,



        B.       Netlist Provided Actual Notice of the ’417 Patent to Micron

                 1.      Netlist’s April 2021 Letter Provided Actual Notice of the ’417 Patent

        Micron does not dispute that Netlist can recover pre-suit damages for the ’417 Patent at least

as of April 1, 2022. Dkt. 367 at 1. Micron’s request that summary judgment be granted precluding pre-

suit damages before that date should be denied, because Netlist provided actual notice to Micron at

least as of its earlier letter of April 28, 2021. Ex. 15.



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      The April 2021 letter satisfies each of the requirements for actual notice:

         Identity of the Patent: Netlist’s April 2021 letter




                                      Ex. 15 (NL-MIC-203_00030437) at 2. All of these patents are

          listed on the face of the ’417 Patent as part of the same continuation chain, and the ’417

          Patent claims priority to them. Ex. 17 (’417 Patent) at Related Application Data. The April

          2021 letter expressly stated

                                                                   Ex. 15 at 2 (emphasis added). This

          encompasses the ’417 Patent.

         Activity Believed to Be an Infringement: Netlist’s letter explicitly stated that “



                                                                       Ex. 15 at 2.

                                                                             . Ex. 3 (Mangione-Smith

          Opening Rpt.) Ex. A at ¶ 43. The letter further made clear Netlist believed Micron was

          infringing, stating

                                                   Ex. 15 at 2, and that



                                                                                    . at 3.

         A proposal to abate the infringement, whether by license or otherwise: Netlist specifically

          proposed in the letter to

                                                                                     .” Ex. 15 at 1. The

          letter also stated




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                                                             . at 2; see also id. at 3.

        In Micron I, this Court held that the same April 2021 letter created a fact dispute regarding

actual notice. Ex. 31 (Micron I Dkt. 429) at 8. Like the ’417 Patent here, Micron I involved two patents

(the ’918 and ’054) that had not issued at the time of the April 2021 letter, but whose parent

applications were identified in the letter. This Court held that the April 2021 letter created a factual

dispute regarding actual notice as to the child ’918/’054 Patents:

         Netlist responds that the April 28, 2021 notice letter provided actual notice. Dkt.
         No. 294 at 14–15. The Court finds that Netlist has demonstrated evidence by which
         a reasonable jury could find that actual notice was provided. Unlike the 2015 Slide
         Decks, the notice letter does provide activity believed to be an infringement and a
         proposal to abate infringement. See Dkt. No. 294-15. Regarding identification of
         the patents in suit, the letter identifies members of the patent family and provides
         notice regarding continuation patents. See K-TEC, Inc. v. Vita-Mix Corp., 696 F.3d
         1364, 1378–79 (Fed. Cir. 2012); Arthrex, Inc. v. Smith & Nephew, Inc.¸ 2016 WL
         11750176, at *2 (E.D. Tex. 2016). Accordingly, the Court finds that a fact issue
         remains regarding actual notice beginning on April 28, 2021.

Ex. 31 (Micron I Dkt. 429) at 8. The same ruling should apply here.

        Micron merely repeats the arguments regarding the April 2021 letter this Court rejected in

Micron I. For example, Micron argues that the 2021 letter is not effective because it does not list “the

asserted patent number,” and the ’417 Patent had not yet issued at the time of the letter. Dkt. 367 at

15. The Court rejected precisely this argument in Micron I as to the ’918 and ’054 Patents (which like

the ’417 had not yet issued and were not listed in the letter, but whose parent patents were identified),

holding “Regarding identification of the patents in suit, the letter identifies members of the patent

family and provides notice regarding continuation patents. Accordingly, the Court finds that a fact

issue remains regarding actual notice beginning on April 28, 2021.” Ex. 31 (Micron I Dkt. 429) at 8.

        This Court’s ruling in Micron I is consistent with both Federal Circuit precedent and the

precedent of this Court holding that notice of a parent patent may include notice of a continuation

patent, even if the continuation has not yet issued and is not listed by patent number. In K-TEC, Inc.




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v. Vita-Mix Corp., 696 F.3d 1364, 1378-79 (Fed. Cir. 2012), the Federal Circuit found notice sufficient

and affirmed the denial of summary judgment where patent owner “provided notice that the MP

container infringed various claims of the [asserted] patent’s parent patent in March 2005.” When

notice of the parent was given, the asserted patent had not yet issued. During the ensuing period,

Defendant attempted to design-around by releasing a new “XP container” product. Plaintiff then sued

shortly after the asserted patent issued, initially accusing only MP container and then later amending

its complaint to accuse XP container. Id. at 1371. Defendant argued the pre-suit notice was not

effective because it did not include the asserted patent or XP container product. The Federal Circuit

affirmed the damages verdict, explaining that this notice and other communications “resulted in Vita–

Mix having actual notice of the [asserted] patent . . . when the patent issued.” Id. at 1379.

        Likewise, in Arthrex, Inc. v. Smith & Nephew, 2016 WL 11750176, *2 (E.D. Tex. Nov. 29, 2016),

patentee gave notice of parent patents in an agreement, and stated the notice also applied “to later

arising continuation patents.” The continuation patent was not identified by patent number and issued

after the notice. Id. This Court denied summary judgment and found the notice sufficient as to the

later-issued continuation, holding that “notice of infringement of a parent patent can expand to

include notice of infringement a continuation patent. The Federal Circuit has acknowledged that an

accused infringer’s actual notice of a parent patent is relevant to the § 287(a) inquiry.” Id. This Court

concluded that “A reasonable juror could conclude that the scope of notice provided by the Standstill

Agreement expanded to include notice of infringement of the [continuation] patent after [it] issued.

Accordingly, summary judgment cannot be granted.” Id. at *3; see also Ceeco Mach. Mfg. v. Intercote, Inc.,

817 F. Supp. 979, 986 (D. Mass. 1992) (actual notice does not require infringer “be given the precise

patent number, as long as the patented invention itself is identified”).

        Micron’s cited case of Lubby Holdings LLC v. Chung, 11 F.4th 1355, 1360 (Fed. Cir. 2021) is not

on point. There, the only pre-suit communication between the parties was nondisclosure agreements



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that arguably pertained to underlying technology related to the patents, but that themselves made no

mention of patents, infringement, or the like. Id. at 1360-1361. And SRI, 127 F.3d at 1470, far from

supporting Micron’s argument, confirms that there is no per se rule, stating “there are numerous

possible variations in form and content” of an effective notice. Micron also attempts to rely on out-

of-district cases, none of which are factually analogous. For example, in CIVIX-DDI, L.L.C. v. Cellco

P’ship, 387 F. Supp. 2d 869, 900 (N.D. Ill. 2005) the notice in question was merely of other patents

owned by the patentee. There was no notice of parent patents with a statement it included subsequent

continuations. Likewise, Pipp Mobile Storage Sys. v. Innovative Growers Equip., Inc., 2022 WL 157491 (N.D.

Ill. 2022) and Livjo, Inc. v. Deckers Outdoor Corp., 2011 WL 12516430 (C.D. Cal. Sep. 27, 2011) both

addressed notice of a patent application, they did not address (as here) notice of parent patents.

                2.        Netlist’s 2015 Presentations and JEDEC Disclosures Provided Actual
                          Notice of the ’417 Patent

        While the Court need not consider additional disclosures of the ’417 Patent if it finds the April

2021 letter creates a fact dispute, summary judgment should also be denied for the independent reason

that Netlist’s 2015 presentations to Micron and JEDEC disclosures create a genuine dispute of fact

regarding actual notice. As discussed above, Netlist’s February 2015 presentation to Micron

specifically identified

                                          Ex. 5 at 15. Netlist’s April 2015 presentation again identified

                                                              (the



                                                               Ex. 7 at 22-23. Netlist also specifically

presented the

            Id. at 27. Both presentations proposed                          , as discussed above. Netlist

also made repeated written disclosure of the ’417 Patent family to JEDEC that were received by




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Micron as a JEDEC member, expressly identifying it as relevant to (among other things)

                                                           Ex. 25 (

             ); Ex. 22 at -21938 and Ex. 23 at -22058 (                                       Ex. 23 at -

22056 and Ex. 24 at -21970 and Ex. 26 at -22000 (                                     ); Ex. 26 at -22002,

-21998 (                                             ).

        C.       Micron Did Not Meet its Burden Under Arctic Cat

        As to constructive notice, Netlist recognizes that the Court ruled against Netlist on this issue

in Micron I. Netlist, however, respectfully submits that Micron’s May 2023 letter did not discharge its

obligation under Arctic Cat to identify products “which the alleged infringer believes practice the

patent.” Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1368 (Fed. Cir. 2017).

Micron’s May 2023 letter purports to identify                                                        , but

does not assert that any of these products actually practice the ’912 or ’417 Patents. Dkt. 367-18. In

fact Micron’s letter states the opposite, claiming that Micron

                                                  Id. at 4 (emphasis added).

        This Court has previously held that such letters do not meet Defendants’ burden of production

under Arctic Cat. In Arigna Technology Ltd. v. Nissan Motor Co., Ltd., 2022 WL 18046695 (E.D. Tex. Sep.

20, 2022), the Court held that a letter identifying “the DNMR008 module” did not satisfy defendant’s

burden under Arctic Cat where the “letter does not articulate the requisite belief that the DNMWR008

module or the chip incorporated therein practices the ’318 Patent. In fact, it articulates Toyota’s belief

as to the opposite: that neither the DNMWR008 module nor the chip incorporated therein practices

the ’318 Patent. This does not notify Arigna of any defendants’ intent to challenge the marking status

of either the DNMWR008 module or the chip regarding adherence with § 287.” Id. at *4.

V.      CONCLUSION

        For the foregoing reasons, Netlist respectfully requests Micron’s motion be denied.



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Dated: January 30, 2024              Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on January 30, 2024, a copy of the foregoing was served to all counsel of

record.

                                                            /s/ Yanan Zhao
                                                            Yanan Zhao

               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

          I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

filed under seal pursuant to the Protective Order entered in this Case.

                                                            /s/ Yanan Zhao
                                                            Yanan Zhao




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